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CONTINUATION IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

       I, Joshua White, being first duly sworn, hereby depose and state as follows:

                           INTRODUCTION AND BACKGROUND

       1.         Based on the information set forth below, there is probable cause to believe that

evidence of violations of federal law, specifically, 21 U.S.C. § 841(a)(1), distribution or possession

with intent to distribute a controlled substance, and 18 U.S.C. § 922(g)(1), Felon in Possession of

a Firearm (hereinafter referred to as the “Target Offenses”), will be found in the locations listed in

Attachment A. The categories of items to be seized are described in Attachment B.

       2.         I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), and I have served as such since July 2022. Prior to serving as an ATF Special

Agent, I was employed by the United States Secret Service as a Uniformed Division Officer for

three and a half years. My daily responsibilities while serving were to screen passholders and

appointments who had access to the White House Grounds, assist with protectee movements onto

and off of the White House Complex, and enforce D.C. Code as well as Federal Law. I have

completed the Federal Law Enforcement Training Center (FLETC) Uniformed Police Training

program (UPTP) and the Criminal Investigator Training Program (CITP) with a total combination

of over 800 hours of classroom and practical training. I have completed ATF’s Special A gent Basic

Training (SABT) academy with over 500 hours of classroom and practical training. I am presently

assigned to ATF’s Lansing Office conducting narcotics/firearms investigations.

       3.         The facts in this affidavit come from my personal observations, training,

experience, and information obtained from other witnesses. This affidavit is intended to show

merely that there is sufficient probable cause for the requested warrant and does not set forth all

my knowledge about this matter.



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       4.         I am currently investigating Nathanael WILSON (XX-XX-1977). Based on the

facts set forth in this affidavit, there is probable cause to believe that evidence indicating that

WILSON committed the Target Offenses will be located at 5087 W Centerline Road, St. Johns,

Michigan 48879 (hereinafter referred to as the “Target Residence”), its outbuildings, and curtilage;

any vehicles registered to WILSON on the curtilage; on the person of Nathanael WILSON; and

on cellular or mobile telephones or devices owned by or associated with WILSON.

                                      PROBABLE CAUSE

       5.         Upon review of WILSON’s criminal history, I located the following felony

convictions for WILSON:

      a.       02/01/2016: 29th Circuit Court of Michigan – Felony Controlled Substance –

               Operating/Maintaining a Laboratory in Presence of a Minor.

      b.       07/19/2021: 29th Circuit Court of Michigan – Felony Police Officer –

               Assaulting/Resisting/Obstructing.

      c.       2021 – 29th Circuit Court of Michigan– Felony Criminal Sexual Conduct – 3 rd

               degree (Person 13-15).

       6.         On May 9, 2024, SA White spoke with the Clinton County Sheriff’s Office

regarding WILSON and his association with the Target Residence. Investigators from the Clinton

County Sheriff’s Office advised that they knew the Target Residence belonged to WILSON and

that he was a part of a previous narcotics investigation. In fact, I was advised that they responded

to a residential structure fire that was believed to be caused by the manufacture of

methamphetamine. WILSON pled guilty to Operating and Maintaining a Laboratory in the

Presence of a Minor in the 29 th Circuit Court of Michigan (CFN: 15-009526-FH).




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Confidential Informant Information

       7.        In February of 2024, SA Joshua White and TFO Trevor Arnold had contact with

ATF CI 32207 regarding WILSON. 1 CI 32207 is known to me, but I have not provided identifying

information in this warrant. CI 32207 has previously provided reliable information to the

government and other law enforcement agencies regarding multiple suspects that have been

corroborated and used to support probable cause in multiple state search warrant applications and

have resulted in the seizure of narcotics. I have found CI 32207 to be truthful and reliable.

       8.        CI 32207 advised that WILSON sells methamphetamine and distributes

narcotics while armed with a firearm. CI 32207 has seen WILSON with a firearm on multiple

occasions. CI 32207 also advised that WILSON is a convicted felon. CI 32207 reported that

WILSON’s phone number is 616-308-1500 and that WILSON drives a white Chevy Express van,

a red Ford F-150, and a white Toyota Corolla with Michigan license plate CMD258, which is

registered to WILSON’s wife. CI 32207 has seen WILSON with at least six firearms. CI 32207

identified the Target Residence as WILSON’s residence.

First Controlled Purchase – the Fourth Week in April 2024

       9.        During the fourth week in April 2024, investigators began preparing for a

controlled purchase of narcotics from WILSON. Directly prior to the controlled purchase, Lansing

Police Department Officer Zolnai established roaming surveillance on 4512 W Centerline Road,

St. Johns, MI.

       10.       Prior to the controlled purchase, at SA White’s direction, CI 32207 text

messaged WILSON at cell phone number 616-308-1500. CI 32207 text messaged WILSON




1 CI 32207 is cooperating with law enforcement for financial gain.




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setting up the controlled purchase of methamphetamine in exchange for $80.00 of prerecorded

government funds. WILSON wrote in a text message, “Hurry up I’m out of gas at the new farm.”

       11.        Prior to the controlled purchase, SA Mascorro, SA White, and an undercover

Lansing Police Department Officer (hereinafter referred to as “UC”) met with CI 32207 at a pre-

determined meet location. SA White, in the presence of UC, searched CI 32207’s person for

currency and contraband with negative results, provided CI 32207 with electronic recording

equipment, and provided CI 32207 with prerecorded government funds.

       12.        At approximately 5:45 p.m., prior to the controlled purchase taking place,

WILSON called CI 32207 and confirmed that CI 32207 was still coming. [This contact was made

in the presence of the UC and was made unexpectedly].

       13.        Prior to the controlled purchase, at SA White’s direction, CI 32207 placed a

recorded telephone call to WILSON at 616-308-1500. During this call CI 32207 advised WILSON

that he was still on his way and asked WILSON if it was alright if he still stopped by. WILSON

responded, “yeah, yeah, I’m here.”

       14.        At approximately 6:11 p.m., CI 32207 and the UC departed the predetermined

meet location in the UC vehicle with the UC as the driver and CI 32207 as the front seat passenger.

       15.        At approximately 6:15 p.m., the UC and CI 32207 arrived at 4512 W Centerline,

and CI 32207 exited the vehicle. The controlled purchase took place between approximately 6:15

p.m., and 6:27 p.m.

       16.        During the controlled purchase, the UC observed WILSON standing in the

driveway of 4512 W Centerline. Once the UC and CI 32207 arrived, CI 32207 exited the UC

vehicle and walked to the back of the property with WILSON. During this time, the UC observed




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a white sedan bearing license plate CMD258. Approximately 12 minutes later, CI 32207 and

WILSON returned to the area where the UC vehicle was parked.

       17.       At approximately 6:27 p.m., CI 32207 and the UC departed from the area of

4512 W Centerline and subsequently met SA Mascorro and SA White at a predetermined location.

       18.       CI 32207 was accompanied by the UC from the purchase location back to the

predetermined meet location. Immediately after the controlled purchase CI 32207 gave the UC

one plastic container filled with suspected methamphetamine and the electronic recording

equipment. The UC then provided these to SA White. SA White searched CI 32207 for currency

and contraband with negative results. SA Mascorro and SA White then met with CI 32207. CI

32207 provided the following information regarding the controlled purchase of suspected

methamphetamine:


          a. CI 32207 met with WILSON at 4512 W Centerline Rd St. Johns, MI.

          b. WILSON provided CI 32207 with the suspected methamphetamine in
             exchange for $80.00 in prerecorded government funds.

          c. WILSON retrieved the methamphetamine from a red dodge vehicle
             where CI 32207 also observed additional methamphetamine being
             stored.

          d. CI 32207 observed WILSON had a pistol inside of his boot during the
             controlled purchase. CI 32207 also observed a rifle inside of the garage
             on a cabinet.

       19.       Upon return to the LPD Operations Center, the knotted plastic container

containing the suspected methamphetamine was field tested. The substance tested positive for the

presence of methamphetamine.




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CI 32207 Contact – First Week of May 2024

       20.       During the first week in May 2024, CI 32207 was at the Target Residence, and

sent SA White a picture of a firearm and suspected serial number, which he took at the Target

Residence. WILSON was at the Target Residence.

Surveillance of Target Residence – Second Week of May 2024

       21.       During the first week in May 2024, at approximately 2:44 p.m., SA White and

SA Hurt conducted drive-by surveillance at the Target Residence and observed multiple vehicles

and a white male matching the description of WILSON outside of the Target Residence.

Attempted Controlled Purchase – Second Week of May 2024

       22.       Prior to the controlled purchase taking place, CI 32207 had unrecorded telephone

contact with WILSON at 616-308-1500. During this contact, CI 32207 set up deal to purchase

$80.00 worth of methamphetamine from WILSON at the Target Residence.

       23.       Prior to the controlled purchase, SA Mascorro and SA White met with CI 32207

at a pre-determined meet location. SA White, in the presence of SA Mascorro, searched CI 32207’s

person and vehicle for currency and contraband with negative results, provided CI 32207 with

electronic recording equipment, and provided CI 32207 with prerecorded government funds.

       24.       At approximately 3:00 p.m., CI 32207 departed the predetermined meet location

in the UC vehicle with CI 32207 as the driver and only occupant of the vehicle. SA Mascorro and

SA White surveilled CI 32207 from the pre-determined meet location to the Target Residence. CI

32207 then exited his vehicle and met with WILSON. The attempted controlled purchase took

place between approximately 3:08 p.m., and 3:56 p.m.




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          25.       The controlled purchase did not occur, and the deal was canceled. At

  approximately 3:56 p.m., CI 32207 departed the area of the Target Residence and subsequently

  met SA Mascorro and SA White at a predetermined location.

          26.       CI 32207 provided the following information regarding the attempted controlled

  purchase of methamphetamine from WILSON at the Target Residence:

                     i.   CI 32207 met with WILSON at the Target Residence.

                    ii.   CI 32207 saw a jar filled with suspected methamphetamine inside the

                          Target Residence.

                iii.      CI 32207 was at the Target Residence on 5-6-24 and saw

                          methamphetamine. WILSON was present at this time.

                iv.       WILSON was at the Target Residence with his wife.

                    v.    WILSON had methamphetamine in his hand and then put it in his pocket.

Additional Information

       27.          Based on my training and experience, participation in numerous firearm and

controlled substance investigations, and based upon information from veteran law enforcement

officers, I know:

   a. Drug traffickers commonly conduct financial transactions in cash to avoid documentation

       of their purchases and expenditures, thus making it more difficult for law enforcement to

       identify these transactions.

   b. Drug traffickers often maintain, on hand, sufficient amounts of U.S. currency to maintain

       and finance their ongoing narcotics business, as well as for the purposes of funding their

       daily living expenses and purchases.




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  c. Drug traffickers often maintain books, records, receipts, notes, ledgers, money orders,

     and other documentation relating to the transportation, ordering, sale, and distribution of

     controlled substances. The above items are generally maintained in locations to which the

     drug traffickers have frequent and ready access (i.e., in their residences and vehicles),

     including electronically on computers or cellular phones.

  d. Drug traffickers often maintain the means and instrumentalities utilized in the possession,

     dilution, or distribution of narcotics in their vehicle and/or residence.

  e. Drug traffickers often use cellular devices or mobile telephones to facilitate the purchase

     and sale of illegal drugs. Cellular or mobile telephones or devices are portable, and some

     mobile telecommunications service providers do not require purchasers of the devices to

     provide their names and/or addresses, so narcotics traffickers use the de vices in an effort

     to avoid detection by law enforcement. Cellular devices often contain evidence indicative

     of drug trafficking, including records of incoming and outgoing calls and text messages

     with suppliers and purchasers of narcotics; voicemail messages; photographs of drugs,

     firearms, coconspirators, or currency; customer and supplier contact information; and, in

     the case of “smart phones,” Global Positioning System (GPS) data indicating the location

     of the device at given points in time, providing evidence that the device was in high

     drug trafficking areas or evidencing the route used in trafficking narcotics. Additionally,

     drug traffickers typically maintain and use multiple cellular devices, often in the names of

     nominees, to facilitate sales, and frequently switch phones to evade detection by law

     enforcement. Further, these types of devices are used to access social media websites,

     including Facebook and Instagram. I know that drug traffickers use social media with

     increasing frequency to communicate with suppliers and purchasers of narcotics. I know



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     that these devices are often carried on their person, located in their vehicle or in their

     residence.

  f. It is common for drug traffickers to take and maintain photographs of themselves and their

     colleagues with drugs, using drugs, and with firearms and cash displayed as the tools and

     proceeds of their illegal drug distribution, and to keep either physical or electronic copies

     of those images. The images are often stored on smart phones, computers, and other digital

     devices, as well as on social media websites and accessed via computers and cellular

     devices. Digital evidence can be found for a long period of time on computers, cellular

     phones, and other devices because a f orensic examiner can access even temporary and

     deleted files, as well as internet history, long after they are accessed or created by the user.

  g. It is common for drug traffickers to store proceeds of drug sales and records of drug

     transactions in secure locations within their residences for ready access and to conceal them

     from law enforcement. Proceeds include, but are not limited to, cash, electronics, and other

     high-value items.

  h. Also, it is common for drug traffickers to keep firearms and related materials—such as

     ammunition and magazines—to protect their narcotics and narcotics proceeds. It is also

     common for drug dealers who sell narcotics out of their residence to maintain firearms

     there in order to protect themselves, their drugs, and their proceed s from customers who

     attempt to rob them. I also know, based on my training and experience, that individuals

     who possess firearms often maintain possession of them for extended periods of time. I

     am aware that individuals who possess firearms also possess other items associated with

     their firearms including ammunition, magazines, holsters, cases, and records indicating

     purchase, use, maintenance, or sale of such items.



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   i. Illegal firearms users and traffickers use mobile telephones to facilitate the purchase and

       sale of illegal firearms. Mobile phones are portable, and some mobile telecommunications

       service providers do not require purchasers of the devices to provide their names and/or

       addresses, so firearms traffickers use the devices in an effort to avoid detection by law

       enforcement.     Mobile phones often contain evidence indicative of illegal firearms

       possession and trafficking, including records of incoming and outgoin g calls and text

       messages with suppliers and purchasers of firearms; voicemail messages; photographs of

       firearms, coconspirators, or currency; customer and supplier contact information; and, in

       the case of “smart phones,” Global Positioning System (GPS) data indicating the location

       of the device at given points in time, providing evidence that the device was in high crime

       areas or evidencing the route used in trafficking illegal firearms. Additionally, illegal

       firearms traffickers typically maintain and use multiple mobile phones, often in the names

       of nominees, to facilitate sales, and frequently switch phones to evade detection by law

       enforcement.

   j. Based on the above, as well as the evidence we have that WILSON communicates by phone

       about narcotics transactions, there is probable cause to believe that evidence of his selling

       or possessing controlled substances/firearms would be found on cellular phones or devices

       owned by or associated with WILSON.

                 ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       28.        Based on my knowledge, training, and experience, I know that electronic devices

(including cellular or mobile telephones or devices) can store information for long periods of time.

Similarly, things that have been viewed via the Internet (including on cellular or mobile telephones




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or devices) are typically stored for some time on the device. This information can sometimes be

recovered with forensics tools.

       29.        Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how a device

was used, the purpose of its use, who used it, and when. There is probable cause to believe that

this forensic electronic evidence might be on WILSON’s cellular or mobile telephone or device

because:

   a. Data on the storage medium can provide evidence of a file that was once on the storage

       medium but has since been deleted or edited, or of a deleted portion of a file (such as a

       paragraph that has been deleted from a word processing file).

   b. Forensic evidence on a device can also indicate who has used or controlled the device.

       This “user attribution” evidence is analogous to the search for “indicia of occupancy” for

       a search warrant at a residence.

   c. A person with appropriate familiarity with how an electronic device works may, after

       examining this forensic evidence in its proper context, be able to draw conclusions about

       how electronic devices were used, the purpose of their use, who used them, and when.

   d. The process of identifying the exact electronically stored information on a storage medium

       that is necessary to draw an accurate conclusion is a dynamic process. Electronic evidence

       is not always data that can be merely reviewed by a review team and passed along to

       investigators. Whether data stored on a computer is evidence may depend on other

       information stored on the computer and the application of knowledge about how a




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       computer behaves. Therefore, contextual information necessary to understand other

       evidence also falls within the scope of the warrant.

   e. Further, in finding evidence of how a device was used, the purpose of its use, who used

       it, and when, sometimes it is necessary to establish that a particular thing is not present on

       a storage medium.

       30.       Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the device consistent

with the warrant. The examination may require authorities to employ techniques, including but

not limited to computer-assisted scans of the entire medium or device, that might expose many

parts of the device to human inspection in order to determine whether it is evidence described by

the warrant.

                                         CONCLUSION

       31.     Based on the aforementioned facts, I submit there is probable cause to believe that

the locations described in Attachment A contain evidence and/or fruits of crimes, as further

described in Attachment B, specifically relating to violations of the Target Offenses in Clinton

County, in the Western Judicial District of Michigan.




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